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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE APPLICATION OF APOSTOLOS
MANGOURAS TO CONDUCT DISCOVERY FOR                                        17-mc-172(PKC)
USE IN A FOREIGN PROCEEDING PURSUANT
TO 28 U.S.C. 1782                                                          ORDER
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CASTEL, District Judge.
                As a follow up to the Court’s Order on the in camera submission, the Court orders

as follows:

                                 Document 244. The document shall be produced.

                SO ORDERED.




Dated: New York, New York
       March 16, 2018
